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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

              Plaintiff,

 v.                                                    Case No. 11-20551

 TIMOTHY SPENCER, D-24,

              Defendants.
                                                /

      ORDER DIRECTING DEFENDANT TO SUBMIT SUPPLEMENTAL BRIEFING

       On January 31, 2014, Defendant Timothy Spencer, filed a “Motion for a Hearing

 on Defendant’s Competency” pursuant to 18 U.S.C. § 4241. The court must grant the

 motion “if there is reasonable cause to believe that the defendant may presently be

 suffering from a mental disease or defect rendering him mentally incompetent to the

 extent that he is unable to understand the nature and consequences of the proceedings

 against him or to assist properly in his defense.” 18 U.S.C. § 4241(a). The motion

 states that “there is reasonable cause to believe that the Defendant is presently

 suffering from a physical disease and/or defect rendering him incompetent.” (Pg. ID

 # 2119.) However, Defendant’s counsel does not point to any symptoms or signs, nor

 provide anything factual related to a “disease or defect” from which he says Defendant

 may suffer, or how that disease or defect impacts his ability to understand the nature

 and consequences of the proceedings. The court presently has no basis on which to

 decide the motion. Accordingly,
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          IT IS ORDERED that Defendant Timothy Spencer is DIRECTED to submit a

 supplemental brief that discusses his alleged physical disease and/or defect by

 February 21, 2014.



                                                             s/Robert H. Cleland
                                                            ROBERT H. CLELAND
                                                            UNITED STATES DISTRICT JUDGE

 Dated: February 7, 2014


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, February 7, 2014, by electronic and/or ordinary mail.

                                                             s/Lisa Wagner
                                                            Case Manager and Deputy Clerk
                                                            (313) 234-5522




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